Case 0:24-cv-62152-MD Document 36 Entered on FLSD Docket 04/03/2025 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 24-62152-CIV-DAMIAN


 MOTOROLA MOBILITY LLC, and
 LENOVO (BEIJING) LIMITED,

        Plaintiffs,

 vs.

 THE INDIVIDUALS, CORPORATIONS, LIMITED
 LIABILITY COMPANIES, PARTNERSHIPS, AND
 UNINCORPORATED ASSOCIATIONS IDENTIFIED
 ON SCHEDULE A,

       Defendants.
 ___________________________________________________/

               ORDER OF DISMISSAL AS TO CERTAIN DEFENDANTS

        THIS CAUSE is before the Court on Plaintiffs’ Notice of Voluntary Dismissal of

 Certain Defendants, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), [ECF No.

 35] (“Notice”), filed April 1, 2025.

        THE COURT has carefully reviewed the Notice, and the record in this case, and is

 otherwise fully advised. Accordingly, it is ORDERED AND ADJUDGED as follows:

            1. The above-referenced Notice is APPROVED and ADOPTED;

            2. The above-styled case is DISMISSED WITHOUT PREJUDICE as to the

                following Defendants listed on Schedule A to the Complaint:

Doe No.    Defendant Seller             Defendant Online Marketplace
     91    depaike2017                  https://www.ebay.com/str/depaike2017
    117    jiayouba                     https://www.ebay.com/str/jiayouba
    134    likesell365                  https://www.ebay.com/str/likesell365
    139    manysellok                   https://www.ebay.com/str/manysellok
    157    qianjinj                     https://www.ebay.com/str/qianjinj
    172    shopping-home888             https://www.ebay.com/str/shoppinghome888
Case 0:24-cv-62152-MD Document 36 Entered on FLSD Docket 04/03/2025 Page 2 of 2




       187 warming-mall                  https://www.ebay.com/str/bluecoffee2088
       201 Best Monitor                  https://www.walmart.com/seller/101596174
       205 DONGDONG                      https://www.walmart.com/seller/101111620


           3. Each party shall bear its own attorneys’ fees and costs;

           4. To the extent not otherwise disposed of, all pending motions are DENIED

               AS MOOT and all deadlines are TERMINATED with respect to the above-

               listed Defendants only; and

           5. Plaintiffs shall serve a copy of this Order on the Defendants by e-mail via their

               corresponding e-mail address and/or online contact form or other means of

               electronic contact provided on the Internet based e-commerce stores operating

               under the respective Seller IDs; or by providing a copy of this Order by email

               to the marketplace platforms for each of the Seller IDs so that the registrar, or

               marketplace platform, in turn, notifies each of the Defendants of the Order; or

               by other means reasonably calculated to give notice which is permitted by the

               Court.

        DONE AND ORDERED in Chambers in the Southern District of Florida, this 3rd

 day of April, 2025.




                                              ___________________________________
                                              MELISSA DAMIAN
                                              UNITED STATES DISTRICT JUDGE

 cc:    Counsel of Record




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